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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

        v.                              No. 19 Cr. 374 (RDM)

RANI EL-SAADI,                          Hon. Randolph D. Moss

                 Defendant.




         DEFENDANT RANI EL-SAADI’S REPLY MEMORANDUM IN
        SUPPORT OF MOTION TO DISMISS COUNT 18 AND TO SEVER




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                                       INTRODUCTION

        Count 18 of the Indictment is not properly venued in this District and must be dismissed.

There is no allegation or evidence that Mr. El-Saadi permitted his name to be used to effect

conduit contributions or took any action in the District of Columbia. Instead and in response, the

government advances a theory unsupported by law or statute in search of a hook for venue. It

asserts that Mr. El-Saadi not only “permitted his name to be used to effect contributions of

another,” but also caused Political Committees 2 and 5 to accept conduit contributions. And it

asserts because Political Committee 5 was headquartered in this District, venue is proper.

        The government’s theory fails for two reasons. First, 52 U.S.C. § 30122 prohibits the

“knowing[ ] accept[ance]” of an illegal contribution. That is not what the Indictment alleges,

however.     Count 18 alleges that Mr. El-Saadi caused Political Committees 2 and 5 to

“unwittingly accept” an illegal contribution, which is not prohibited by statute. Given this

failing, the only alleged conduct relevant for purposes of venue is where Mr. El-Saadi permitted

his name to be used to effect the contribution. The government has not argued—nor could it—

that he did so in this District.

        Second, even if—as the government alleges—venue was proper where the contribution

was accepted, Count 18 is still improperly venued in Washington, D.C.            Given the joint

fundraising effort, it was Political Committee 2 which accepted the contribution, a portion of

which was then distributed to Political Committee 5. The government does not claim that

Political Committee 2 was located in or accepted Mr. El-Saadi’s contribution in this District; it

simply represents that Political Committee 5 was located in Washington, D.C. But Political

Committee 5’s location as a secondary recipient of a contribution accepted elsewhere is not

sufficient to establish venue in this District. The government’s arguments opposing severance
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fare no better.   It claims Count 1 is an overarching conspiracy with facts intrinsic to the

conspiracy alleged in Count 13 and thus necessitate a joint trial. Not so. The conspiracy alleged

in Count 1 is separate and distinct from the conspiracy alleged in Count 13, as illustrated by the

allegations in Count 1 that Mr. El-Saadi’s co-defendants funneled foreign money into a U.S.

presidential campaign—allegations that are nowhere to be found in Count 13. The inflammatory

nature of those allegations alone warrant severance.

       Moreover, in addition to their alleged participation in a foreign influence scheme, Mr. El-

Saadi’s co-defendants are charged in separate counts with lying to FBI agents and tampering

with a grand jury witness. Mr. El-Saadi, on the other hand, is not charged with or connected to

any of those allegations. And the government’s attempt to suggest otherwise falls flat. By

lumping Mr. El-Saadi in with the other defendants at trial, a jury would be hard pressed to

separate the evidence, charges, and inferences against Mr. El-Saadi’s co-defendants from those

against him. Severance is therefore warranted.

                                          ARGUMENT

I.     Count 18 Must Be Dismissed for Lack of Venue

       Venue is proper where the locus delicti occurred. United States v. Cabrales, 524 U.S. 1,

6-7 (1998). To determine where the crime occurred, the court looks to “the nature of the crime

alleged and the location of the act or acts constituting it.” Id. (quoting United States v. Anderson,

328 U.S. 699, 703 (1946)).

       A.      The Only Conduct Properly Charged Occurred Outside the District

       In line with this authority and contrary to the government’s claims, 52 U.S.C. § 30122 has

three distinct conduct elements for purposes of venue: (1) making a contribution in the name of

another, (2) willfully permitting one’s name to be used to effect such a contribution, and (3)

knowingly accepting a conduit contribution. As explained below, the only thing Mr. El-Saadi is


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properly charged with is the second conduct element of § 30122, which focuses on the “making”

of a conduit contribution—specifically where a person permitted “his name to be used to effect

such a contribution.” 52 U.S.C. § 30122. Accordingly, venue for Count 18 is found where the

contribution was made.

       In United States v. Hankin, 607 F.2d 611 (3d Cir. 1979), the Third Circuit explained that

the purpose of the contribution statute was “to punish the [m]aking of illegal contributions.” Id.

at 615 (emphasis added).1 And the “criminal act of making the illegal contribution is complete

before the deposit of the checks.” Id. In so holding, Hankin distinguished the crime of making a

contribution with the crime of causing another to accept or receive an illegal contribution. The

latter was the crime at issue in United States v. Chestnut, 533 F.2d 40, 47 (2d Cir. 1976)

(defendant was charged with “willfully causing [another] to receive an unlawful corporate

contribution”).   In distinguishing Chestnut, the Hankin court stated it did “not follow that

because the crime of receiving and accepting contributions includes the act of depositing checks,

the act of making contributions necessarily includes the same element.” 607 F.2d at 613. Thus,

the court held, the making of a contribution was complete prior to deposit of the contribution.

The court in United States v. Passodelis, 615 F.2d 975 (3d Cir. 1980), reiterated that same point

one year later, holding that the “illegal making of a contribution is complete before the

contribution is deposited by the recipient.” Id. at 977. Venue, then, is appropriate where the

contribution was allegedly made. And there is no dispute that the contribution, which is the

subject of Count 18, was allegedly made outside of this District.

       As a result, the government attempts to shoehorn Mr. El-Saadi’s alleged actions into the

third conduct element of § 30122. But Count 18 does not allege that Mr. El-Saadi caused another

1
  Hankin analyzed 18 U.S.C. § 614, the predecessor statute with nearly identical language to
§ 30122, the statute at issue in the present case.


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to “knowingly accept contributions made by one person in the name of another.” It instead

alleges Mr. El-Saadi caused Political Committees 2 and 5 to “unwittingly accept contributions

made by one person in the name of another.” Indictment ¶ 68 (emphasis added); Dkt. 91

(“Opp.”) at 2. That alleged conduct is not prohibited under § 30122. A person or entity

“unwittingly accept[ing]” illegal contributions is of course not the same as one “knowingly

accept[ing]” such contributions. The former faces no criminal liability; the latter is a co-

conspirator or co-schemer. See Chestnut, 533 F.2d at 47 (“causation aspect of the charge [of

accepting an illegal contribution]” derived from 18 U.S.C. § 2 “makes punishable as a principal

one who willfully causes another to commit an offense”) (emphasis added).

       Chestnut illustrates this point. In that case, the advertising agency that accepted the

illegal contribution performed work for the campaign for which it received the illegal

contribution as payment for its outstanding invoices. 533 F.2d at 43-44. In other words, the

advertising agency knew that it was accepting contributions made in the name of another when it

deposited the checks into its bank account, and thus the defendant could be held liable for aiding

and abetting the advertising agency’s knowing receipt of the illegal contributions. Id. at 47.

Here, in contrast, the government does not allege that Political Committees 2 and 5 knew of any

illegal conduit contribution.   Just the opposite.    The government alleges that they were

unknowing victims. Mr. El-Saadi cannot be held criminally liable for aiding and abetting

innocent conduct. Nor can such conduct be the locus delicti for purposes of venue.

       B.      The Contribution Was Accepted Outside the District

       Even if venue for Count 18 was proper where the alleged conduit contribution was

accepted—based on the government’s allegation that Mr. El-Saadi caused the unwitting

acceptance of it, venue would still be improper in this District. The government does not claim




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that the physical delivery of the contribution occurred in this District or that Political Committee

2 was located in this District when it accepted the contribution.        Although not stating so

explicitly, the government has effectively conceded that the alleged contribution in Count 18 was

accepted and deposited by Political Committee 2 before funds could be transferred to Political

Committee 5. See Opp. at 3, n.1 (acknowledging that contributions must be “transferred” to the

participating political committees after they are received by the joint fundraising committee); see

also Federal Election Commission, Itemized Disbursements, https://docquery.fec.gov/cgi-

bin/forms/C00586537/1108472/sb/22 (last visited Oct. 22, 2020) (showing Political Committee 2

“disburs[ed]” funds to various committees, meaning that the contribution was necessarily

accepted before the funds could be “disburs[ed]” or “transfer[red]”). But it asserts venue is

proper because Political Committee 5 was located in this District when it received a portion of

the contribution that Mr. El-Saadi paid to Political Committee 2. See Op. at 2-3.

       However, under Hankin and Chestnut, the crime of accepting the illegal contribution was

complete, at latest, when Political Committee 2 deposited the check, not when funds were

subsequently transferred.    Chestnut, 533 F.2d at 47 (substantive offense of receiving and

accepting illegal contribution complete where checks deposited); Hankin, 607 F.2d at 613

(recognizing that “crime of receiving and accepting contributions includes the act of depositing

checks”). The government cites no authority for the proposition that the location of the recipient

of a secondary transfer of a contribution is sufficient to establish venue in that secondary

location. Nor can it. Under the “knowing acceptance” prong of § 30122, the offense is complete

once the conduit contribution is accepted, not when a political committee decides to pass along

funds to other participants without the defendant’s involvement. See Hankin, 607 F.2d at 615

(rejecting the government’s claim that the act of making an illegal contribution was complete




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based on when the political committee decided to deposit the checks because “[s]uch a result

would afford the defendant no protection against possible prosecution long after his criminal acts

are completed”).

       In a futile attempt to bolster its argument, the government relies on wire-fraud and false-

statement cases that are inapposite in the context of § 30122. Opp. at 3-4. The government cites

United States v. Hsia, 24 F. Supp. 2d 14 (D.D.C. 1998), and United States v. Ebersole, 411 F.3d

517 (4th Cir. 2005), for the proposition that a “single coordinated illegal contribution scheme is

properly prosecuted in the district where all of the contributions were ultimately received,

accepted, and reported.” Opp. at 3. But Hsia and Ebersole both involved continuing offenses.

In Hsia, the court rejected a motion to dismiss a conspiracy charge for lack of venue because a

conspiracy is a “continuing offense” and venue for continuing offenses is proper in “any district

in which some overt act in furtherance of the conspiracy was committed by any of the co-

conspirators. Hsia, 24 F. Supp. 2d at 22. Ebersole likewise concerned a continuing offense: a

wire-fraud scheme.    There, the court held that venue was proper “in any district where a

payment-related wire communication was transmitted in furtherance of Ebersole’s fraud

scheme.” Ebersole, 411 F.3d at 527. These cases stand in contrast to the charge Mr. El-Saadi

faces.2 Count 18 does not charge a continuing offense or a scheme. Rather, it charges Mr. El-

Saadi with “permitt[ing] his name to be used to effect contributions of another.” Indictment ¶ 68.

That crime was completed when the contribution was made. Hankin, 607 F.2d at 615 (holding

“statute of limitations began to run when the contributions were made”).




2
  The government also cites United States v. Johnson, 510 F.3d 521 (4th Cir. 2007). That case,
however, relied on the Securities Exchange Act’s broad venue provision, 15 U.S.C. § 78aa, to
find venue proper. Section 30122 contains no such venue provision.


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       Finally, the government’s worry over the inconvenience of needing to establish venue for

each count in an indictment, as well as its reliance on language from a dissenting opinion from a

denial of an en banc petition in Passodelis, see Opp. at 3, should not sway the Court to relieve

the government of its burden. In this case alone, the government has charged two conspiracies,

bringing together eight individuals into a single case charged in this District, despite the fact that

nearly all of the conduct alleged occurred outside of this District. That the government might not

be able to charge certain substantive counts in an indictment or that it must bring those charges

elsewhere is not a sufficient reason to forego the Constitution’s and the Federal Rules of

Criminal Procedure’s venue requirements. Mr. El-Saadi requests that the Court dismiss Count

18 as venue in this District is improper.

II.    Severance of Mr. El-Saadi’s Trial from His Co-Defendants’ Is Warranted

       The government agrees that severance is appropriate where “ ‘the joinder of offenses or

defendants . . . appears to prejudice the defendant . . . .’ ” Opp. at 4 (quoting Fed. R. Crim. P.

14(a)). Yet it ignores the substantial prejudice that will result if Mr. El-Saadi’s trial is not

severed, while also insisting that inflammatory allegations that his co-defendants knowingly

funneled foreign money into a U.S. presidential campaign should be heard by Mr. El-Saadi’s

jury. The government has proved the point: Mr. El-Saadi’s trial must be severed from his co-

defendants’ so that he may receive a fair trial.

       A.      Joinder of Count One Prejudices Mr. El-Saadi

       While the government acknowledges that Mr. El-Saadi is not charged in the conspiracy

alleged in Count 1, it argues that Count 1 is an “overarching conspiracy” that is intertwined with

and somehow necessary to explain the conspiracy alleged in Count 13. But the conspiracy

alleged in Count 1 is focused on the use of foreign funds to influence a U.S. presidential election,




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allegations that are wholly separate and distinct from—and thus unnecessary to explain—the

conspiracy alleged in Count 13.

       While Count 1 does not allege foreign influence as an object or purpose of the

conspiracy, it is clear from the indictment that it is. Nearly every overt act alleged in Count 1

involves Foreign Country A. See Indictment ¶ 29. For instance, there is a series of overt acts

which allege Foreign Country A provided money to Nader and Khawaja to fund contributions to

Candidate 1.   In a notable exchange, Nader refers to Foreign Country A as the “bakery”

responsible for “prepar[ing]” the “Baklava”—which, according to the government, is code Nader

and Khawaja used to refer to funds provided by Foreign Country A for political contributions.

Id. ¶ 29(ee). Other examples include:

              In discussing money he was planning to send to Khawaja for donations to
               Candidate 1, Nader told Khawaja: “I am following up with [Foreign Country A]
               on making sure the [funds] arrive later this week in time for the [fundraising
               event]! Nader later wrote to Khawaja: “Package was authorized and sent!” Id.
               ¶ 29(d);

              Nader wrote to Khawaja: “A package of Baklava was prepared today as promised
               and sent DHL. It should arrive in time for the event with your Sister.” (according
               to the government, “Sister” was code for Candidate 1.) Id. ¶ 29(gg); and

              Khawaja wrote Nader: “That’s why we need [more money], If [Candidate 2] gets
               elected its over for the Arabs.” Nader responded, “Let us hope we put a good one
               in next couple of weeks and to follow up fast and immediate with a new tray of
               Cookies!” (referring to funds provided by Foreign Country A to be used for
               contributions). Id. ¶ 29(dd).

It is also clear from the overt acts alleged in Count One that, despite concern about detection,3

Nader apparently sought guidance and approval from and routinely updated Foreign Country A.

Some examples include:


3
  As explained in a message from Nader, an official from Foreign Country A’s government was
“cautious” and did not want Nader to attend a national political convention because he may be
“too exposed.” Indictment ¶ 29(aa).


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              Nader reported to an official from Foreign Country A’s government that he “[h]ad
               a magnificent session with Big Lady’s key people . . . . You will be most amazed
               by my progress on that side!” (according to the government, “Big Lady” was
               code for Candidate 1). Id. ¶ 29(b);

              Nader reported to an official from Foreign Country A’s government that he was
               “leaving very early morning to catch up with big Lady over the weekend . . . . Can
               I come over for 10 minutes … to get your blessings and instructions before I leave
               please?” Id. ¶ 29(g); and

              Nader sent a recording of Khawaja talking with Candidate 1’s campaign to a
               Foreign Country A government official. Id. ¶ 29(oo).

Unlike Count 1, there is absolutely no reference in the overt acts alleged in Count 13 to Foreign

Country A.

       The foreign influence allegations in Count 1 are explosive and unfairly prejudicial to a

defendant, like Mr. El-Saadi, who is not alleged to have known about or had any involvement

with Foreign Country A. Lumping Mr. El-Saadi with those alleged to have, in effect, conspired

with a foreign government to influence a U.S. presidential election is highly prejudicial as it

could have a material effect on a jury who may harbor prejudice against certain foreign

countries, particularly those alleged to have attempted to influence a U.S. election. See United

States v. Trie, 21 F. Supp. 2d 7, 20 (D.D.C. 1998) (noting the “prejudicial nature” of statement in

indictment alleging defendant “channeled foreign money to the DNC”); cf. United States v.

Berry, 21 F.3d 428 (6th Cir. 1994) (“Appeals to patriotism, especially in the face of a commonly

perceived national enemy, can, under certain circumstances, so inflame the passions and

prejudices of a jury that a defendant could be denied a fair trial.”).

       Indeed, it would be hard to find a juror who is not aware of allegations of foreign

interference in recent U.S. elections. Russia’s interference in the last presidential election has

been the focus of highly-publicized investigations by, among others, a DOJ Special Counsel and

investigators for various Congressional committees. And there has been wide coverage of recent


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attempts to interfere with the 2020 U.S. presidential election. See, e.g., Pranshu Verma &

Kenneth P. Vogel, U.S. Imposes Sanctions on Ukrainian With Ties to Russia, Citing Election

Interference, N.Y. Times, Sept. 10, 2020, https://www.nytimes.com/2020/09/10/us/politics/-

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on foreign actor in connection with “covert influence campaign”); Ellen Nakashima, et al.,

Russia Remains More Potent Threat of Election Interference Despite Administration Focus on

Iran, Wash. Post, Oct. 22, 2020, https://www. washingtonpost.com/national-security/iran-russia-

election-interference/2020/10/22/e3c2fc1a-1496-11eb-ad6f-36c93e6e94fb_story.html.

       In this instance, the potential for prejudice is all the greater because the involvement of

Foreign Country A is dubiously relevant at best to Count 13 and not at all relevant to Mr. El-

Saadi. Without any allegation that Mr. El-Saadi was knowingly involved in or aware of Foreign

Country A’s apparent attempt to influence a U.S. presidential election, there is significant risk

that the jury will engage in unfettered speculation and resort—consciously or not—to associating

Mr. El-Saadi with his codefendants’ actions alleged in Count 1. See Kotteakos v. United States,

328 U.S. 750, 774 (1946) (noting the “dangers for transference of guilt from one to another” in

conspiracy cases “are so great that no one really can say prejudice to substantial right has not

taken place”). That is impermissible.4

       B.     Mr. El-Saadi Is Prejudiced by Joinder of Defendants in Count Thirteen

       The government argues that “severance is not appropriate merely because some less-

active co-conspirators are charged alongside their more integral counterparts.” Opp. at 7. That

4
  The government’s own briefing highlights the potential for confusion. It argues that the
contributions related to the October 2016 Las Vegas event “were funded by Nader, through
Khawaja.” Opp. at 8. Count 13 in the Indictment, however, states that the contributions “were
funded by Khawaja.” Indictment ¶ 55. Elsewhere, there is the suggestion that Foreign Country
A supplied the funds. Id. ¶ 29(ee). If even the government cannot keep who was allegedly
funding the contributions straight, a jury will certainly be unable to do so.


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argument misses the point. Severance is appropriate not only because Mr. El-Saadi had minimal

participation in the conspiracy alleged in Count 13, United States v. Mardian, 546 F.2d 973, 977

(D.C. Cir. 1976) (severance appropriate where all defendants were charged with conspiracy but

movant was alleged to have only participated in 5 of the 45 alleged overt acts and his

participation was minimal), but also because of the severity of the additional charges faced by

his alleged co-conspirators, United States v. Sampol, 636 F.2d 621, 651 (D.C. Cir. 1980) (finding

improper prejudice resulting from a joint trial against defendants charged with “grossly

disparate” crimes).

       The other charges against Mr. El-Saadi’s co-conspirators are significant. In addition to

the foreign influence scheme alleged in Count 1, Roy Boulos is separately charged with

obstruction for lying to FBI agents, allegedly telling them that Khawaja never asked him to make

the contribution. Indictment ¶ 130. Mohammad “Moe” Diab is also separately charged with

obstruction for lying to FBI agents about the source of the contributions. Id. ¶ 132. As is Stevan

Hill, id. ¶ 134, and Thayne Whipple, id. ¶ 136.      And Khawaja is separately charged with

obstruction for “provid[ing] Individual 2 with a false factual narrative” to be used when

testifying before the grand jury i.e., witness tampering. Id. ¶ 138. Mr. El-Saadi, meanwhile, is

not charged with any similar offenses.

       However, in an attempt to tie Mr. El-Saadi to his co-defendants’ alleged obstructive

conduct, the government points to an invoice from Mr. El-Saadi’s company showing that

Khawaja purchased travel-related services. Opp. at 8-9. According to the government, that

invoice was fake and created to conceal the alleged conduit contribution. But nowhere in its 64-

page Indictment does the government mention the invoice, let alone suggest that it constitutes




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obstruction. And for good reason. At trial, Mr. El-Saadi will prove that the invoice was part of a

legitimate commercial transaction.

        Moreover, the government’s argument does not change the simple fact that, unlike his co-

defendants, Mr. El-Saadi is not charged with obstruction. He should therefore not be placed at

risk of guilt by association simply because he is on trial at the same time as his co-defendants—

who are, in fact, charged with obstruction in separate counts. United States v. Cotona, No. 07-

26, 2007 WL 3124700, at *2 (D.N.J. Oct. 22, 2007) (severing witness tampering charge from

other defendants charged for various bank and mail fraud crimes). Indeed, the government’s

tenuous attempt to lump Mr. El-Saadi in with his co-defendants’ alleged obstruction underscores

this risk.

        The disparity in evidence and charges as between Mr. El-Saadi and his co-defendants

persists, necessitating a separate trial.

                                            CONCLUSION

        For the reasons stated above and in his opening brief, Mr. El-Saadi respectfully requests

that the Court dismiss Count 18 and permit him to be tried separately from his co-defendants on

the remaining charge.




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Dated:   October 23, 2020                Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I certify that on October 23, 2020, I caused the foregoing Reply in Support of Motion To

Dismiss Count 18 and To Sever to be filed with the Clerk of Court using the CM/ECF system,

which will effect service on all parties.

                                                          /s/ Megan Cunniff Church
                                                          Megan Cunniff Church




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